UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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ELIZABETH BETSY COMBIER,

                           Plaintiff,                                       JUDGMENT
                 -v-
                                                                            17-CV-2239 (MKB) (RLM)
FRANCESCO PORTELOS, LUCIO CELLI,
BRYAN GLASS, ESQ., JORDAN HARLOW,
ESQ., CARMEN FARINA, and NEW YORK
CITY DEPARTMENT OF EDUCATION,

                          Defendants.

LUCIO CELLI,

                          Counterclaimant,
                 v.

ELIZABETH BETSY COMBIER,

                           Counter-Defendant.
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         A Memorandum and Order of Honorable Margo K. Brodie, United States District Judge,

having been filed on September 29, 2018, adopting the Report and Recommendation of

Magistrate Judge Roanne L. Mann, dated July 5, 2018, dismissing the SAC with prejudice;

dismissing Celli’s counterclaims; and denying Celli’s motions with respect to Plaintiff’s stated

damages and sealed documents; it is

        ORDERED and ADJUDGED that the SAC is dismissed with prejudice; that Celli’s

counterclaims are dismissed; and that Celli’s motions are denied with respect to Plaintiff’s stated

damages and sealed documents.

Dated: Brooklyn, NY                                                   Douglas C. Palmer
September 29, 2018                                                    Clerk of Court

                                                                By:   /s/Jalitza Poveda
                                                                          Deputy Clerk
